&lt;html&gt;
&lt;head&gt;
&lt;title&gt;&lt;/title&gt;
&lt;/head&gt;
&lt;body text="#000000" link="#0000ff" vlink="#551a8b" alink="#ff0000" bgcolor="#c0c0c0"&gt;

&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/strong&gt;&lt;/font&gt;&lt;/center&gt;


&lt;br wp="br1"&gt;&lt;br wp="br2"&gt;
&lt;br wp="br1"&gt;&lt;br wp="br2"&gt;
&lt;p&gt;&lt;hr align="center" width="26%"&gt;

&lt;strong&gt;&lt;center&gt;NO. 03-&lt;a name="1"&gt;00-731&lt;/a&gt;-&lt;a name="2"&gt;&lt;/a&gt;CV&lt;/center&gt;
&lt;/strong&gt;

&lt;p&gt;&lt;hr align="center" width="26%"&gt;


&lt;strong&gt;&lt;center&gt;&lt;/center&gt;
&lt;/strong&gt;

&lt;p&gt;&lt;strong&gt;&lt;center&gt;&lt;a name="4"&gt;In re&lt;/a&gt; Stephenville Independent School District&lt;/center&gt;
&lt;/strong&gt;

&lt;br wp="br1"&gt;&lt;br wp="br2"&gt;
&lt;br wp="br1"&gt;&lt;br wp="br2"&gt;
&lt;br wp="br1"&gt;&lt;br wp="br2"&gt;
&lt;p&gt;&lt;strong&gt;&lt;hr size="3"&gt;

&lt;center&gt;ORIGINAL PROCEEDING FROM TRAVIS COUNTY&lt;/center&gt;
&lt;/strong&gt;

&lt;p&gt;&lt;strong&gt;&lt;hr size="3"&gt;



&lt;center&gt;&lt;u&gt;&lt;/u&gt;&lt;/center&gt;
&lt;/strong&gt;

&lt;p&gt;&lt;strong&gt;PER CURIAM&lt;/strong&gt;

&lt;br wp="br1"&gt;&lt;br wp="br2"&gt;
&lt;p&gt;		Relator's Petition for Writ of Mandamus is denied.  Tex. R. App. P. 52.8(a).  This
Court's November 21, 2000 order staying all proceedings in the trial court is lifted.  Relator's
motion for leave to file petition for writ of mandamus is dismissed. 

&lt;p&gt;		

&lt;p&gt;Before Justices Jones, Kidd and Yeakel

&lt;p&gt;Filed:   December 18, 2000

&lt;p&gt;Do Not Publish

&lt;/body&gt;
&lt;/html&gt;
